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_V_ 2.026R20428_03_B `:»('J.D. OF: TN, fvi§.iv'it"'l‘ils

DEBRA SETTLES
Steften Schreiner, CJA
Defense Attorney
369 N. Nlain
N|emphis, TN 38103

 

JUDGMENT lN A CR|NI|NAL CASE
(For Otfenses Committed On or Atter November1, 1987)

The defendant pleaded guilty to Count 11 ot the indictment on October 08, 2004
According|y, the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Tit|e & Section _N§M%_Qf_m.f_§@ OfferlSe Numberlsl
Conc|uded
344 and Banl< Fraud 08/26/2002 11

.S.C. § 1
U.S.C. § 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Ftestitution Act ot 1996

Count 12 is dismissed on the motion 01 the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/16!1964 April 21, 2005
Dett’s U.S. l\/larsha| No.: 18972-076

Defendant’s lVlailing Address:
1448 Ftainey

Apar'tment #3

|V|emphis, TN 38127

J. DANIEL BFtEEN
N|TED STATES DlSTFt|CT JUDGE
f'
Apri|L, 2005
This document entered on the docket sheet in compliance

with Rule 55 ami/or 3203) Fncrp On §§ :Z#Q_l : L/

 

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lMPRlSON|V|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 3 Months.

The Court recommends to the Bureau of Prisons:
P|acement in a facility as close to lVlemphis, Tennessee, as possiblel

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States |\/iarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarsha|

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Case No: 2:020Ft20428 Defendant Name: Debra SETTLES Page 3 of 6

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance, The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thej`udicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons',

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity. and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:02CR20428 Defendant Name: Debra SETTLES Page 4 of 6

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. lt this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| lVlonetary Pena|ties sheet of this judgment

ADDIT|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in mental health counseling as directed by the Probation Officer.

2) l\/lake full financial disclosure

3) Provide third party risk notificationl

4) Be prohibited from incurring new credit charges, opening additional lines of credit, or
making an obligation for any major purchases without prior approval by the Probation Officer.

5) Cooperate with DNA collection as directed by the Probation Officer.

CR||VI|NAL lV|ONETAFlY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedufe of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Totat Restitution
$100.00 $2,766.00
The Speciai Assessment shall be due immediately.

F|NE
No fine imposed

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REST|TUT|ON

Ftestitution in the amount of $2,766.00 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Tota| Amount of Order
Name of pal[ee Amount Restitution Ordered or
of Loss Percentage
of Payment

W ELL.S FARGO F|NANC|AL

BANK,

Attn: 4071 -1 000-0044-6678
3201 N. 4TH AVENUE
SlOUX FALLS, SD 57105

DELAWNE WlL.SON.

Ftegions Bank,
Attn: Scott Coggins, ASO
5100 Poplar Avenue
Suite 150
l\/lemphis, TN 38137

lfthe defendant makes a partial payment, each payee shai| receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment

column above

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3864(f)(3)(B), the court orders nominal payments and this is

reflected in the Statement of Fteasons page

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SCHEDULE OF PAY|VIENTS

l-laving assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

Restitution to be payed in equal monthly installments and be paid in full within 24
months.

Un|ess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonmentl payment of criminal monetary penalties shall be due during the
period of imprisonment Al| criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Ftesponsibility Program, are made to the clerk of the
court, unless othenrvise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 224 in
case 2:02-CR-20428 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

i\/lemphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

